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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CRIMINAL ACTION NO. 13-CR-10024-RWZ

UNITED STATES
V.

MARK J. ZIMNY

ORDER

 

October 20, 2020
ZOBEL, S.D.J.

Following a jury trial, petitioner Mark J. Zimny was convicted on five counts of
wire fraud, five counts of engaging in unlawful monetary transactions, two counts of
filing false tax returns, and one count of bank fraud. The court sentenced him to 63
months imprisonment and specifically ordered him to pay restitution of $182,564 to
Wells Fargo Bank and $656,906 to Doctor Gerald Chow at the sentencing hearing,
Sentencing Tr. 70, ECF No. 322, and in the judgment itself, Judgment 5, ECF No. 304.
The latter shows the total amount of restitution ($839,470) as well as the amounts
payable to each named recipient ($182,564 and $656,906). These numbers are
correctly listed in the judgment; however, the total shown below those line items is

incorrectly summed as “$0.00.”
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SAD 4SB(OS-MA) (Rev 0605) Judgment in a Crimunal Case
Sheet $-D Massachusetts - 10°05

Judi Page Sof 10
DEFENDANT: MARK J. ZIMNY pam —— Ff
CASE NUMBER: I: 13 CR 10024 - 001 -RWZ
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Eing stitution
TOTALS $ $1,300.00 $ s $839,470.00
I The determination of restitution is deferred until . An Amended Judgment in a Criminal Cate (AO 24$C) will be entered

after such determination
| The defendant must make restitution (including community restitution) to the following payees in the amount listed below,

If the defendant makes a partial payment, cach payee shall receive an approximately pporicard yment, unless specified otherwise in
the priority order or Pooodied Payrocal color below However, pursuant to 18 Us 2 § 366d all nonfederal victims must be paid
before the United States is paid.

Name of Paves Total Loss* Restitution Ordered Priority or Percentage
Wells Fargo $182,564.00 $182,564.00

84 State Street
Boston, Mass, 02109
Doctor Gerald Chow $656,906.00 $656,906.00

oO ‘See Continuation
Page
TOTALS $ 0,00 $ $0.00

This was clearly a scrivener’s error. The court, pursuant to Rule 36 of the Federal Rules
of Criminal Procedure, therefore amends the judgment to list the total amount of

restitution as $839,470 instead of “$0.00.”

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October 20, 2020 ‘ li) Lobb

DATE \ RYAW. ZOBEL
UNITED STATES DISTRICT JUDGE
